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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Case No. 3:21cr42
                                              )
KEITH RODNEY MOORE,                           )
         Defendant                            )

     MR. MOORE’S RESPONSE TO MOTION TO EXCLUDE DEFENSE EXPERT

       Keith Moore, through counsel, responds as follows to the government’s motion to exclude

the defense’s expert, Dr. Eli Coston, see ECF No. 70:

       I.     The government’s motion is essentially a preview of its cross-examination of
              Dr. Coston rather than a meritorious Daubert challenge.

       In responding to the defense’s supplemental brief in support of Mr. Moore’s equal

protection challenge, the government has confused its critiques of Dr. Coston’s analysis and

conclusions with a Daubert challenge. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579

(1993), reevaluated the prior standard governing admissibility of expert evidence in federal

court—the theory of general acceptance. In rejecting that standard, the Supreme Court made

several observations relevant to the Court’s analysis of the government’s motion in limine to

exclude Dr. Coston’s report:

       The primary locus of this obligation is Rule 702, which clearly contemplates some
       degree of regulation of the subjects and theories about which an expert may testify.
       “If scientific, technical, or other specialized knowledge will assist the trier of fact
       to understand the evidence or to determine a fact in issue” an expert “may testify
       thereto.” (Emphasis added.) The subject of an expert’s testimony must be
       “scientific . . . knowledge.” The adjective “scientific” implies a grounding in the
       methods and procedures of science. Similarly, the word “knowledge” connotes
       more than subjective belief or unsupported speculation. The term “applies to any
       body of known facts or to any body of ideas inferred from such facts or accepted
       as truths on good grounds.” Webster’s Third New International Dictionary 1252
       (1986). Of course, it would be unreasonable to conclude that the subject of scientific

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       testimony must be “known” to a certainty; arguably, there are no certainties in
       science. See, e.g., Brief for Nicolaas Bloembergen et al. as Amici Curiae (“Indeed,
       scientists do not assert that they know what is immutably ‘true’—they are
       committed to searching for new, temporary, theories to explain, as best they can,
       phenomena”); Brief for American Association for the Advancement of Science et
       al. as Amici Curiae 7–8 (“Science is not an encyclopedic body of knowledge about
       the universe. Instead, it represents a process for proposing and refining theoretical
       explanations about the world that are subject to further testing and refinement”
       (emphasis in original)). But, in order to qualify as “scientific knowledge,” an
       inference or assertion must be derived by the scientific method. Proposed testimony
       must be supported by appropriate validation—i.e., “good grounds,” based on what
       is known. In short, the requirement that an expert’s testimony pertain to “scientific
       knowledge” establishes a standard of evidentiary reliability.

509 U.S. at 589-90. An opposing party is certainly not without recourse to challenge expert

evidence. “Vigorous cross-examination, presentation of contrary evidence, and careful instruction

on the burden of proof are the traditional and appropriate means of attacking shaky but admissible

evidence.” Id. at 596. “To summarize: . . . the Rules of Evidence—especially Rule 702—do

assign to the trial judge the task of ensuring that an expert’s testimony both rests on a reliable

foundation and is relevant to the task at hand. Pertinent evidence based on scientifically valid

principles will satisfy those demands.” Id. at 597.

       As further explained below, Dr. Coston’s report is based on the well-founded scientific

principles best applicable to the dataset at hand. The government’s arguments are, of course, well-

suited for cross-examination, and Dr. Coston will be happy to further elucidate their reasons in

choosing specific, scientifically validated analytical tools to apply to the dataset available in this

case. To be sure, it is expected that the government does not like or agree with Dr. Coston’s

analysis and conclusions, but the question of evidentiary reliability is not the same as whether the

opposing party views the expert evidence as correct. See, e.g., In re Paoli R.R. Yard PCB

Litigation, 35 F.3d 717, 744 (3d Cir. 1994) (observing that proponents of expert evidence “do not

have to demonstrate to the judge by a preponderance of the evidence that the assessments of their



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experts are correct, they only have to demonstrate by a preponderance of evidence that their

opinions are reliable. . . . The evidentiary requirement of reliability is lower than the merits

standard of correctness.”); Ruiz-Troche v. Pepsi Cola, 161 F.3d 77, 85 (1st Cir. 1998) (“Daubert

neither requires nor empowers trial courts to determine which of several competing scientific

theories has the best provenance.”); United States v. Perocier, 269 F.R.D. 103, 114 (D.P.R. 2009)

(“While defendants’ arguments raise concerns of ‘reliability’ as to the underlying data and

evidence on which Klein’s conclusions are based, those issues are not the ones with which Rule

702 is concerned. Reliability under Rule 702 is a question concerning the expert’s methods, not

the method of obtaining the underlying data by non-experts.”).

       The Court should deny the motion.

       II.     The government’s critiques of the quality and accuracy of the data that Dr.
               Coston relied on ignores the reality that datasets are almost always imperfect.

       The government critiques the data that Dr. Coston relied to generate their expert report in

two ways: 1) the quality of the data, and 2) the accuracy of the data. To review, the data that Dr.

Coston analyzed came directly from the law enforcement agency that is a part of the prosecution

team in this case, the Richmond Police Department. On September 30, 2021, the defense sought

and the Court ordered the Richmond Police Department to produce police department records

associated with each traffic stop that the Richmond Police Department conducted from July 1,

2020, through December 5, 2020.

       In response to this subpoena, on October 18, 2021, counsel for the Richmond Police

Department contacted undersigned counsel and reported that she estimated that to comply with the

subpoena, the Richmond Police Department would have to produce an estimated 9,000 to 15,000

responsive documents and that it was not feasible to produce that information to the defense in any

sort of timely fashion. During subsequent phone calls with counsel for the Richmond Police

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Department, counsel for the Richmond Police Department further indicated that the Department

would fight compliance with the subpoena if the defense continued to pursue production of all

9,000 to 15,000 responsive documents. But, counsel for the Richmond Police Department reported

that the Department could provide the raw data submitted to the Virginia State Police in

compliance with Virginia’s Community Policing Act, see Va. Code § 52-30.2, from the time

period of July 1, 2020, through December 5, 2020. On October 21, 2021, counsel for the

Richmond Police Department then provided several spreadsheets of data containing the Richmond

Police Department’s information collected pursuant to the Virginia Community Policing Act from

July 1, 2020, through July 31, 2021, to defense counsel. It is this data from the Richmond Police

Department (limited to the timeframe of July 1, 2020—the time that the Richmond Police

Department began collecting data pursuant to the Virginia Community Policing Act—and

December 5, 2020—the date of Mr. Moore’s traffic stop) that Dr. Coston analyzed.

       a. The quality of the data analyzed is limited to the quality of the data provided.

       One of the government’s critiques of Dr. Coston’s analysis is that Dr. Coston did not collect

additional data to perform a veil of darkness survey or a “Richmond-specific traffic accident

estimate[].” See ECF No. 70 at 14. It is true that information that would enable the defense to

perform a veil of darkness survey or a Richmond-specific traffic accident estimate would be of

great interest to the defense in this case. As described above, however, the Richmond Police

Department refused to provide the individual reports of the individual traffic stops showing when

these traffic stops occurred. Thus, the defense could not conduct a veil of darkness survey on the

data provided. Similarly, no Richmond-specific traffic accident data exists that defense counsel

are aware of.




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        Another of the government’s critiques is of the Richmond Police Department’s apparently

poor compliance with Virginia’s Community Policing Act from July 1, 2020, to December 5, 2020.

The express purpose of the Community Policing Act is to collect and analyze data “to determine

the existence and prevalence of the practice of bias-based profiling and the prevalence of

complaints alleging the use of excessive force.” See Virginia’s Legislative Information System,

2020 Session: HB 1250 Virginia Community Policing Act; data collection and reporting

requirement, https://lis.virginia.gov/cgi-bin/legp604.exe?201+sum+HB1250 (last visited Apr. 22,

2022); see also Va. Code § 9.1-191(A). In addition to requiring community police departments to

collect the required data, Virginia’s Community Policing Act also requires Virginia’s Department

of Criminal Justice Services to produce periodic reports analyzing the data collected. See Va.

Code § 9.1-191.

        In the Department of Criminal Justice Services’s first report 1 analyzing the first batch of

Community Policing Data reports that Dr. Coston’s analysis is not only correct as it relates to the

data that the Richmond Police Department submitted, but also displays the racial profiling law

enforcement agencies throughout Virginia are conducting on black drivers in Virginia. Figure 14

of that report paints a stark picture showing that Richmond (and nearly every other jurisdiction in

Virginia) police officers do not disproportionately stop white drivers. But, Richmond (and nearly

every other jurisdiction in Virginia) police officers do disproportionately stop black drivers.




1
  The government’s motion in ECF No. 70 mentions but does not link or attach this report. The defense
does both here. See Virginia Dep’t Crim. Just. Servs., Report on Analysis of Traffic Stop Data Collected
Under          Virginia’s       Community           Policing         Act         (July       1,        2021),
https://www.dcjs.virginia.gov/sites/dcjs.virginia.gov/files/publications/research/report-analysis-traffic-
stop-data.pdf ; see also Ex. G. To remain consistent with exhibit labeling in the supplemental briefing
stage, the defense has continued its alphabetical labeling here where it left off in ECF No. 66.

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See Ex. A at 61. As Dr. Coston found, the Department of Criminal Justice Services report the

government argues constitutes a better analysis finds that Richmond police officers

disproportionately search and arrest black drivers but do not disproportionately search and arrest

white drivers. Id. at 62-63; see also United States v. 14.38 Acres of Land Situated in Leflore

County, Mississippi, 80 F.3d 1074, 1078 (5th Cir. 1996) (finding persuasive in evaluating Daubert

challenge government’s own actions in the case; “Indeed, common sense suggests that the

Government would not have gone to the expense of taking private property and erecting a levee

for the purpose of ‘flood control in Yazoo River Basin’ were the possibility of flooding in the area

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mere ‘speculation and conjecture.’”). One can presume that Virginia would not have enacted the

Community Policing Act but for a valid concern regarding racial profiling in Virginia.

        Another critique that the government levels at the quality of the data Dr. Coston relied on

is that the data was collected during the early phases of the COVID-19 pandemic, when “law

enforcement agencies were losing personnel, addressing civil unrest, and navigating surges in

infections.” See ECF No. 70 at 5. That is all true. But, what the government does not address is

that evidence shows a long history of racial profiling by the Richmond Police Department. From

January 2017 to October 2018, seventy-five percent of all of the people the Richmond Police

Department arrested during traffic stops were black. See ECF No. 66-6 (Ex. F) at 11. That

percentage indicated that black drivers in Richmond were 30.7% more likely to be arrested during

a traffic stop than white drivers. Id. In six weeks of data from February 14, 2000, to March 31,

2000, that the government’s expert analyzed, Dr. Smith found that 64.2% of all of the drivers that

the Richmond Police Department stopped for traffic offenses were black. At the time, black

drivers comprised 50.6% of the driving population in Richmond. See Ex. H.

        Interestingly, Dr. Smith’s 2001 study analyzed data captured by all Richmond Police

Department officers entering required information into mobile data computers in their police cars.

Id. at 5. During the timeframe that Dr. Smith studied, officers with the Richmond Police

Department made 110 traffic stops using motorcycles or rental cars or some other car that could

not be fitted with a mobile data computer. Id. at 6. Also during that timeframe, officers complied

with entering the requested data in only 64% of the traffic stops the officers conducted. Id. Dr.

Smith noted that “[g]iven the sensitive nature 2 of the study and the number of traffic stops made

daily, a 64% response rate was somewhat higher than expected.” Id. Rather than rendering his


2
 The purpose of the study was specifically to determine whether Richmond Police Department officers
were disproportionately stopping, searching, and arresting minority citizens.

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analysis unreliable, Dr. Smith simply cautioned that his analysis must be viewed with the

understanding that the data did not represent every traffic stop that the Richmond Police

Department conducted. Id. Of note, the Richmond Police Department Chief “was less than

pleased with [Dr. Smith’s] results. [The police chief] viewed the study as flawed and based on

incomplete data,” see ECF No. 66-5 at 2—a position identical to that which the government takes

here.

        As Dr. Smith did in 2001, the Court should conclude that while the data does in this case

does not represent all aspects of every traffic stop the Richmond Police Department conducted, the

data itself is reliable. Likely never will there be a perfect data set to analyze in any given situation.

As Dr. Coston noted in their report, additional data would of course allow for additional analysis.

Because this is a criminal case that the government brought in this Court six months after the traffic

stop in this case, the defense could not create its own dataset that could possibly have been more

illuminating and yet also relevant in time to the traffic stop at hand. Rather, the best data available

for this analysis is the data that the state of Virginia requires all police departments to keep under

the Virginia Community Policing Act. But just because a data set is imperfect—as most are—

does not mean that the analysis itself is unreliable.

        b. The accuracy of the data is in large part determined by the Richmond Police
           Department officers who recorded the data.

        One of the government’s critiques of the accuracy of the data is that the officers had no

guidance from the Virginia State Police in how to determine an individual’s race. See ECF No.

70 at 6.    As a purely human-created social construct, race is, of course, subject to some

interpretation. But, the idea that a police officer’s visual assessment of the race of another

individual renders the data in this case so inaccurate that it is unreliable does not comport with the

law or commonsense. See, e.g., Vieth v. Jubelirer, 541 U.S. 267, 287 (2004) (“But a person’s

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politics is rarely as readily discernible—and never as permanently discernible—as a person’s

race.”); compare ECF No. 70 at 6 (arguing that officers cannot make reliable determinations of

another individual’s race) with ECF No. 70 at 14 and ECF No. 70-1 at 2 (advocating that better

method is to collect data to use “veil of darkness” technique so as to limit officer’s visual

determination of race in decision to conduct traffic stop).

        That critique borders on resemblance of Virginia’s historical “one-drop rule,” enacted in

the Racial Integrity Act of 1924. The Racial Integrity Act of 1924 classified people as white only

if they had “no trace whatsoever of any blood other than Caucasian” or one-sixteenth or less of

Native American blood and “no other non-Caucasic blood . . . .” See Ex. I. It did not matter then

whether the person appeared white. Rather, what mattered was whether the person had any non-

Caucasian (or Native American) ancestor. That mode of thinking belies the purpose of colleting

racial profiling statistics.   If a person’s race is so indistinguishable from that of “white,”

presumably an officer would report the person’s race as white. Thus, there would be no racial

profiling.

        Another of the government’s critiques of Dr. Coston’s report is their use of mapping tools.

First, the government takes issue with Dr. Coston and the defense’s use of the geocoding program

Geocodio. Geocodio is:

        a geocoding service that has been used to obtain geographic coordinates in other
        point pattern analyses. Geocodio’s forward geocoding matches addresses provided
        by the user with data from over 1600 data sources, including the US Census Bureau,
        the US Postal Service, and city, county, and state datasets.

See Ex. J. Geocodio has been used by other academics in published articles who conduct

geospatial analyses. Id. at 3, 13. Geocodio reports that results indicating a less than .6 accuracy

warrant further review and potential correction. See Geocodio, Accuracy Types and Scores,

https://www.geocod.io/guides/accuracy-types-scores/ (last visited Apr. 22, 2022). And like the

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researcher in Exhibit J, the defense individually reviewed and corrected all locations with an

accuracy score of less than .6. See ECF No. 66-1 at 4.

         The government has pointed to three out of 2,582 traffic stops in which Geocodio

incorrectly 3 mapped the location of the traffic stop. See ECF No. 70 at 11. Dr. Coston excluded

each 4 of these stops from the analysis because the mapping information indicated that they were

clearly outside of the Richmond Police Department’s jurisdiction. See ECF No. 66-1 at 3. It is

important to note (and the government appears to be unaware) that whether a particular location is

outside of the Richmond Police Department’s jurisdiction is a different question than whether a

stop occurs outside the city limits of Richmond. Richmond Police Department officers, as well as

other police officers in Virginia, are allowed to make traffic stops and arrests for defined distances

beyond the boundaries of Richmond or to continue a pursuit begun in city limits. See, e.g., Va.

Code §§ 19.2-249; 19.2-250; 19.2-77; see also Breitbach v. Commonwealth, 546 S.E.2d 764 (Va.

Ct. App. 2001) (applying Va. Code § 19.2-250’s extension of officer’s jurisdiction to Virginia’s

traffic laws). The government has not provided any control numbers in its briefing or attachments

to identify the stops it believes Dr. Coston wrongfully included in their analysis, but without more,

it is reasonable to assume that the stops it has identified beyond the city limits are ones conducted

within these authorized extensions of the Richmond Police Department’s jurisdiction. Otherwise,




3
  The dataset the Richmond Police Department provided often reported locations in a very general manner,
such as an intersection or general vicinity of an area rather than an exact address.
4
  Before performing any geocoding, the defense assigned each traffic stop a “control number” so as to help
facilitate later comparisons. The government has not identified the relevant control numbers it takes issue
with, but the control numbers for the three stops the government discusses appear to be 376 (black male
stopped for driving with a suspended license and given a citation), 1703 (black female stopped for having
an altered or forged license plate and given a warning), and 2116 (white male stopped for making a faulty
turn and given a warning). Had the government found other discrepancies in the remaining 2,579 stops,
one anticipates it would have pointed those out in its motion.

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such stops would evidence Richmond Police Department officers routinely disregarding the law

governing their jurisdiction.

       Ultimately, there is nothing about the government’s critiques of the accuracy or quality of

the data the Richmond Police Department captured and supplied to the defense that undermines

Dr. Coston’s findings that race plays a statistically significant role in the Richmond Police

Department’s traffic stops, searches, and arrests. Rather, Dr. Coston’s findings comport with the

findings of the Department of Criminal Justice Services, which analyzed the same data.

       III.    The government’s critique of the analytical tools Dr. Coston used is misplaced.

               a. Dr. Coston’s use of United States Census Bureau data as the benchmark for
                  the racial composition of the city of Richmond is accepted within the
                  academic field and scientifically reliable.

       The government has faulted Dr. Coston for using United States Census Bureau data (Dr.

Coston refers to this data in specifically referencing the American Community Survey data from

2015-2019) as the benchmark for the racial composition of the city of Richmond. See ECF No.

70 at 13-18. The government’s expert reported that “census-based benchmarking is no longer

accepted as a scientifically valid technique for comparing against police traffic stop data.” See

ECF No. 70-1 at 2. The government asserts that “the improper use of census data alone is sufficient

to strike Dr. Coston’s report because using census data as a benchmark falls far outside scientific

norms.” See ECF No. 70 at 13.

       As the Virginia Department of Criminal Justice Services has observed:

       The overriding challenge to empirically determining to what extent bias-based
       profiling may be contributing to these disparities is what is referred to as the
       “benchmark problem.” To help determine if bias is a factor in driver stops, one
       would need to be able to compare the proportion of stops made for each
       racial/ethnic group to the appropriate benchmark: the number of drivers in each
       racial/ethnic group who are actually driving on the road and subject to being
       stopped. No one has yet found an accurate way to do this.



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See Ex. G at 65. And so, just as discussed above with regard to the quality of the data available,

there is no perfect benchmark. Rather, there are various benchmarks that can be used. But, the

only benchmark available here given the data available is a census-based benchmark. The

government’s expert points to the “veil of darkness” technique, which:

       makes use of the natural variation in daylight that occurs across the year and with
       changes in daylight savings time to compare the proportion of drivers stopped at
       night to those stopped during the day by racial group. Theoretically, if more
       minority drivers are stopped during daylight hours when police can more easily
       ascertain their race, then this provides evidence of possible racial bias, particularly
       if there are no differences in the rates at which White drivers are stopped during the
       day compared to at night.

See ECF No. 70-1 at 2. As explained above, the defense sought data that would have allowed the

defense to conduct a “veil of darkness” analysis. The Richmond Police Department, however,

refused to provide such information because of the amount of time it would take the Department

to provide the responsive documents. As the government notes, there is no Richmond-specific

traffic crash benchmark data available. See ECF No. 70 at 14. And so, the only choice of

benchmark given the available data is a census-based benchmark.

       That is exactly what the Department of Criminal Justice Services used to conduct its own

analysis of the Virginia Community Policing Act data. See Ex. G at 22 (“Population figures used

in this report are from The National Center for Health Statistics (NCHS) vintage 2019 post-Census

estimates of the resident population of the United States (April 1, 2010, July 1, 2010–July 1,

2019)”). Other scientific studies of racial profiling have done the same. For example, in addition

to Dr. Smith’s report in Exhibit H which relied on census benchmarks in 2001, in Exhibit K, three

researchers used census benchmarks to study the likelihood of racial profiling in Houston, Texas

in 2009 based on data collected in 2003. See Ex. K at 13-14. In 2015, a researcher reviewed

hundreds of thousands of stops in New York City for racial profiling using a census benchmark.



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See Ex. J at 1-3. Thus, it is inaccurate to say that the “use of census data alone is sufficient to

strike Dr. Coston’s report because using census data as a benchmark falls far outside scientific

norms.” See ECF No. 70 at 13.

         The government cannot have it both ways by condoning the Richmond Police

Department’s refusal to provide more detailed information on the traffic stops at issue while

criticizing the defense for using the only benchmark available. That the Department of Criminal

Justice Services relied on census benchmarks too in its analysis of the Virginia Community

Policing Act data, which yielded the same results as Dr. Coston’s analysis, is not only telling but

should end the Court’s entertainment of the government’s motion to exclude Dr. Coston’s report.

                b. The statistical methods that Dr. Coston used to analyze the data were the most
                   appropriate given the data available.

         Lastly, the government has critiqued the statistical tools that Dr. Coston used in analyzing

the data. First, the government attacks Dr. Coston’s report because it does not use a regression

analysis. “Selection of appropriate statistical method depends on the following three things: Aim

and objective of the study, Type and distribution of the data used, and Nature of the observations

(paired/unpaired).”    See Ex. L 5 at 1.     A regression analysis is one that involves multiple

independent variables. And it can be used in appropriate circumstances to infer—by itself—

causation. The data available here, however, does not lend itself to regression analysis. Rather,

the data here is subject to proportional analysis, which is why Dr. Coston chose to analyze the data

using chi-square tests, Cramer’s V, and Kendall’s Tau.

         Similarly, the government critiques Dr. Coston for using geospatial information and heat

clusters. That information clearly shows that the Richmond Police Department is stopping black



5
 While Exhibit L discusses biomedical research, it correctly and succinctly illustrates how the analysis
conducted must be consistent with the data provided.

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drivers disproportionately to white drivers in not only the black parts of Richmond, but the racially

segregated white section of Richmond falling neatly within the third precinct. See ECF No. 66-1

at 8-11. Academics have used such geospatial analysis and heatmapping numerous times in

studying racial profiling. See, e.g., Ex. K; see also Ex. M. In Exhibit M, the researchers tested a

“deployment hypothesis”:

       The deployment hypothesis proposes that racial disparities in searches result from
       departments responding to concentrated offending by focusing traffic stops and
       searches in and around hot spots of crime. While this clustering of interactions
       increases the risk that drivers in and around crime hot spots will be stopped and
       searched, this risk is expected to be race neutral where drivers of various racial
       groups are treated similarly. In other words, traffic stops occurring in similar
       proximities to hot spots of crime should contain similar levels of officer
       assertiveness regardless of the characteristics of the stopped drivers. Racial
       disparities are an expected product of uneven risk for proactive, investigatory
       contacts driven by spatial variation in the distribution of reported offending rather
       than variation in the exercise of discretionary authority across drivers of varying
       demographic characteristics.

See Ex. M at 4 (internal citations omitted). In other words, when you send police out to investigate

crime, one can expect to see more traffic stops. Thus, deployment of police to high crime areas

where minorities live will have the impact of overpolicing racial minorities. See, e.g., Ex. K at 28

(“Simply put, minority drivers may be stopped, searched, arrested, and charged with a felony

because they are more likely to drive in high crime areas where they reside and more vigorous law

enforcement is a common practice.”).

       Thus, it is critical to understand that the history of racial segregation in a place contributes

to the overpolicing of minority neighborhoods. In a city like Richmond that has a history

inextricably intertwined with racial segregation, the Richmond Police Department’s decision to

have three police precincts devoted to the black parts of town is expected to generate overpolicing

of black neighborhoods. But, what is particularly disturbing is how the deployment hypothesis

may be playing out in Richmond. Not only were black drivers pulled over disproportionately in

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black neighborhoods, black drivers were also disproportionately stopped in the white part of

Richmond, particularly along the borders of the white parts of town. See ECF No. 66-1 at 10-11.

The government would like very much to ignore the role that the long history of racial segregation

plays in the Court’s analysis in this case, but the law does not so allow.              See Personnel

Administrator of Mass. v. Feeney, 442 U.S. 256, 279-80 (1979) (discussing statutory history);

Arlington Heights v. Metro. Housing Dev. Corp., 429 U.S. 252, 268 (1977) (“The legislative or

administrative history may be highly relevant, especially where there are contemporary statements

by members of the decisionmaking body, minutes of its meetings, or reports.”). The government’s

avoidance of this history makes it even more critical for the Court to hear evidence regarding the

creation and maintenance of the police precincts in Richmond.

        The main issue with the government’s argument is that the government perhaps

misunderstands that Dr. Coston’s report itself does not and does not purport to determine “whether

a specific traffic stop was the result of racial bias or racial profiling[. Rather] this report does

conclude that race is a significant factor in the decision to stop a driver, whether a person or vehicle

is searched, the outcome of a stop, and the location where stops occur.” See ECF No. 66-1 at 12.

What Dr. Coston has found is that there is statistical significance to the role that race plays in

traffic stops that the Richmond Police Department conducts. And that is exactly what the Court

ordered the defense to determine by hiring a statistician. See ECF No. 44 (directing the defense to

“consult with an expert regarding the statistical significance of the evidence presented in support

of the defendant’s motion to dismiss the indictment and to consider additional evidence in support

of the motion”).

                                             Conclusion




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       The Court should deny the government’s motion. Dr. Coston’s report aligns with the

Department of Criminal Justice Service’s own report, which found that “statewide, Black and

Hispanic drivers in Virginia were disproportionately stopped by law enforcement when compared

to other drivers between July 1, 2020, and March 31, 2021, based on the number of drivers stopped

relative to their numbers in Virginia’s driving-age population. This type of disparity was seen

among traffic stops made by many individual law-enforcement agencies for which disparity

measures could be calculated. Stops of Black and Hispanic drivers were also more likely to result

in a search or an arrest than stops of drivers from other racial groups. This finding is consistent

with traffic stop research conducted in other states.” See Ex. G at 8.

                                                     Respectfully submitted,
                                                     KEITH RODNEY MOORE

                                              By:    ___________/s/____________
                                                     Laura Koenig
                                                     Va. Bar No. 86840
                                                     Counsel for Defendant
                                                     Office of the Federal Public Defender
                                                     701 E Broad Street, Suite 3600
                                                     Richmond, VA 23219-1884
                                                     Ph. (804) 565-0881
                                                     Fax (804) 648-5033
                                                     laura koenig@fd.org

                                                     Amy L. Austin
                                                     Va. Bar No. 46579
                                                     Assistant Federal Public Defender
                                                     Office of the Federal Public Defender
                                                     701 E. Broad St., Ste. 3600
                                                     Richmond, VA 23219
                                                     (804) 565-0880
                                                     amy_austin@fd.org




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